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               IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION



UNITED STATES OF AMERICA,


vs.                                Case No. 4:05mj147-WCS
                                   Violation Notices: F2892048, F2892049,
                                                      F2892050, F2892045,
                                                      F2892047, F2892046

SKITCH DAVIS,
HARLAN HARLOW,
JUSTIN HARLOW, and
DAVID L. NORTON,


      Defendants.

                                   /


                               ORDER OF RECUSAL

      Defendant Harlan N. Harlow has filed a motion to disqualify me. Doc. 14.

Defendant David L. Norton has adopted that motion. Doc. 17. The basis for this

motion is that I accompanied Forest Service Officer King on a tour of the roads and

wetlands of the National Forest.

      28 U.S.C. § 455(a) provides:
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        (a) Any justice, judge, or magistrate of the United States shall
        disqualify himself in any proceeding in which his impartiality might
        reasonably be questioned.

28 U.S.C. § 455(b) provides that a judge should also disqualify himself:

        (1) Where he has a personal bias or prejudice concerning a party, or
        personal knowledge of disputed evidentiary facts concerning the
        proceeding . . . .

        My tour with Officer Mary Pat King occurred several years ago, the number of

years I cannot recall. It was in the summer. The drive took two or three hours, and

covered the northern edge of the National Forest closest to the Tallahassee area. No

one else was on the tour.

        I have personally spent a lot of time in the last 30 years in the National Forest, as

have many residents of this area. I have spent time in the National Forest primarily on

canoe trips and motor vehicle travel to set up those canoe trips, and a number of long

hikes. I have seen flatwoods ponds in the National Forest many times, both during dry

seasons and wet. I am familiar with the two rut trails through the forest, and how such

trails often lead to lakes and ponds. I have become familiar with wetland ponds that

have been the subject of other "mud bogging" cases many times through photographs

submitted as evidence in those cases and in listening to testimony. The trip with Officer

King was nothing new to me. The only purpose of the trip was to get a sense of the size

of the area that Officer King patrols, to get a sense of how a person driving down a two

rut road might innocently stray into a wetland area, and to see the condition of those

wetlands that were then popular with those who drive into the mud and water.

        I do not have personal knowledge of the particular wetland involved with this

case. Even if I saw it on the trip with Officer King some years ago, that is not the sort of

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personal knowledge of a dispute of fact that might arise in this case. The wetlands

existed then and now, and that is not likely to be disputed in this case. I have no

personal knowledge of the current condition of the wetland as a result of my tour with

Officer King years ago. I have no personal bias toward any Defendant in this case nor

toward Officer King. Finally, given the fact that I am very familiar with the terrain of the

National Forest from personal use and other cases prior to the tour with Officer King, I

do not believe that a one time tour with Officer King would cause my impartiality to be

reasonably questioned. Accordingly, the motion as stated must be denied.

        However, I have recused myself in another set of cases for another reason, and

that reason applies equally to these cases. See the recusal order I entered on

November 23, 2005, in case number 4:05mj148-WCS, doc. 13 in that case.

Therefore, I will recuse myself on my own motion for the reason stated in that

recusal order.

        Consequently, it is ORDERED that:

        1. The motion to adopt the motion to recuse, doc. 17, is GRANTED.

        2. The motion for recusal filed by Harlan N. Harlow, as adopted by David L.

Norton, is DENIED.

        3. I hereby recuse myself from these cases on my own motion. The Clerk is

directed to reassign the case to another Magistrate Judge in this district. The other

pending motions will be decided by that Magistrate Judge.

        DONE AND ORDERED on November 23, 2005.

                                           s/ William C. Sherrill, Jr.
                                           WILLIAM C. SHERRILL, JR.
                                           UNITED STATES MAGISTRATE JUDGE

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